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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 DISPLAY TECHNOLOGIES, LLC,

                        Plaintiff,
                                                     Civil Action No. 2:15-cv-1634-JRG-RSP
                v.
                                                           JURY TRIAL DEMANDED
 GOPRO, INC.,

                        Defendant.


                      MOTION TO DISMISS WITHOUT PREJUDICE

       Plaintiff Display Technologies, LLC, pursuant to Fed. R. Civ. P. 41(a), hereby moves for

a dismissal of all of its claims in this action without prejudice against Defendant Gopro, Inc. Prior

to the filing of this notice, Defendant Gopro, Inc., has yet to file an answer or motion for summary

judgment.
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       DATED January 13, 2016.                        Respectfully submitted,
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                                                     ATTORNEYS FOR PLAINTIFF
                                                     DISPLAY TECHNOLOGIES, LLC



                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 13th day of January, 2016, I electronically filed the foregoing
document with the clerk of the court for the U.S. District Court, Eastern District of Texas, Marshall
Division, using the electronic case filing system of the court. The electronic case filing system
sent a “Notice of Electronic Filing” to the attorneys of record who have consented in writing to
accept this Notice as service of this document by electronic means.

                                              /s/ Stevenson Moore
                                              Stevenson Moore
